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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 11-233V
                                       Filed: July 25, 2014
                                       Not for Publication


*************************************
RAFAELLA GANLEY,                           *
                                           *
               Petitioner,                 *             Damages decision based on stipulation;
                                           *             tetanus (“Td”) vaccine; inactivated
                                           *             poliovirus (“IPV”) vaccine; hepatitis A
v.                                         *             (“Hep A”) vaccine; hepatitis B (“Hep B”)
                                           *             vaccine; transverse myelitis (“TM”); acute
SECRETARY OF HEALTH                        *             disseminating encephalomyelitis (“ADEM”)
AND HUMAN SERVICES,                        *
                                           *
               Respondent.                 *
                                           *
*************************************
John F. McHugh, New York, NY, for petitioner.
Traci R. Patton, Washington, DC, for respondent.


MILLMAN, Special Master

                              DECISION AWARDING DAMAGES1

        On July 24, 2014, the parties filed the attached stipulation in which they agreed to settle
this case and described the settlement terms. Petitioner alleges that she suffered transverse
myelitis (“TM”) and/or acute disseminating encephalomyelitis (“ADEM”) as a result of her May
2, 2008, receipt of Tetanus (“Td”), inactivated poliovirus (“IPV”), Hepatitis A (“Hep A”), and
Hepatitis B (“Hep B”) vaccines. Respondent denies that the vaccines caused petitioner to suffer
TM, ADEM, or any other injury or condition. Nonetheless, the parties agreed to resolve this

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be made
available to the public unless they contain trade secrets or commercial or financial information that is
privileged and confidential, or medical or similar information whose disclosure would constitute a clearly
unwarranted invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and
move to delete such information prior to the document’s disclosure. If the special master, upon review,
agrees that the identified material fits within the banned categories listed above, the special master shall
delete such material from public access.
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matter informally.

        The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set forth therein. Pursuant to the stipulation, the court awards a lump sum of
$40,000.00, representing compensation for all damages that would be available under 42 U.S.C.
§ 300aa-15(a) (2006). The award shall be in the form of a check for $40,000.00 made payable to
petitioner.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court is directed to enter judgment herewith.2


IT IS SO ORDERED.


Dated: July 25, 2014                                                               s/ Laura D. Millman
                                                                                      Laura D. Millman
                                                                                       Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

                                             )
RAFAELLA GANLEY,                             )
                                             )
       Petitioner,                           )
                                             )       No. 11-233V
                                             )       Special Master Millman
                                             )       ECF
SECRETARY OF HEALTH AND                      )
HUMAN SERVICES,                              )
                                             )
       Respondent.                           )
                                             )

                                         STIPULATION

       The parties hereby stipulate to the following matters:

       1. Rafaella Ganley, petitioner, filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10 et seq. (the “Vaccine

Program”). The petition seeks compensation for injuries allegedly related to Ms. Ganley’s

receipt of Tetanus (“Td”), inactivated poliovirus (“IPV”), Hepatitis A (“Hep A”), and Hepatitis B

(“Hep B”) vaccines, which vaccines are contained in the Vaccine Injury Table (the “Table”), 42

C.F.R. § 100.3(a).

       2. Petitioner received these immunizations on May 2, 2008.

       3. The vaccines were administered within the United States.

       4. Petitioner alleges that the vaccines she received on May 2, 2008 caused her to suffer

transverse myelitis (“TM”) and/or acute disseminating encephalomyelitis (“ADEM”).

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her condition.




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        6. Respondent denies that the vaccines caused petitioner to suffer TM, ADEM, or any

other injury or condition.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(1), the Secretary of Health and Human Services will issue

the following vaccine compensation payment: a lump sum of $40,000.00 in the form of a check

payable to petitioner. This amount represents compensation for all damages that would be

available under 42 U.S.C. § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21(a)(1), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys’ fees and costs incurred in proceeding upon this

petition.

        10. Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.




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        11. Payments made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys’ fees and litigation costs, the money provided pursuant to this Stipulation will be

used solely for the benefit of petitioner as contemplated by a strict construction of 42 U.S.C.

§ 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the vaccinations administered on May 2, 2008, as alleged

by petitioner in a petition for vaccine compensation filed on or about April 12, 2011, in the

United States Court of Federal Claims as petition No. 11-233V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a



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decision that is in complete conformity with the terms of this Stipulation, then the parties’

settlement and this Stipulation shall be voidable at the sole discretion of either party.

       16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties’ respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the May 2, 2008 vaccines caused petitioner to

suffer TM, ADEM, or any other injury or condition.

       18. All rights and obligations of petitioner hereunder shall apply equally to petitioner’s

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION

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